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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Lynchburg Division


 WILLIAM L. RESPESS, et al.,                           )
                                                       )
               Plaintiffs,                             )
                                                       )
 v.                                                    )       Case No. 6:24-cv-00028-NKM
                                                       )
 VMI ALUMNI ASSOCIATION,                               )
                                                       )
               Defendant.                              )
                                                       )

                    MOTION TO DISMISS THE AMENDED COMPLAINT

        Defendant VMI Alumni Association (“VMIAA”), by counsel, respectfully moves this

 Court to dismiss the Amended Complaint filed by Plaintiffs, pursuant to Rule 12(b)(6) of the

 Federal Rules of Civil Procedure. As explained further in VMIAA’s supporting Memorandum,

 the Court should dismiss the Amended Complaint for the following reasons:

        1.     Count One of the Amended Complaint fails to state a claim under 42 U.S.C. § 1983

 because:

               a.      Many claims are barred by the applicable two-year statute of limitations;

               b.      Plaintiffs fail to plausibly allege that VMIAA, a private Virginia nonstock

                       corporation, acted under color of state law when it took certain actions; and

               c.      Plaintiffs fail to plausibly allege that certain challenged internal governance

                       actions of VMIAA constitute the deprivation of a cognizable constitutional

                       or federally protected right.

        2.     Count Two of the Amended Complaint fails to state a claim under 42 U.S.C. § 1983

 because:




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               a.    The Suspended Plaintiffs1 fail to plausibly allege that VMIAA, a private

                     Virginia nonstock corporation, acted under color of state law when it took

                     certain actions; and

               b.    The Suspended Plaintiffs fail to plausibly allege that the challenged internal

                     governance actions of VMIAA constitute the deprivation of a cognizable

                     constitutional or federally protected right.

        3.     Count Three of the Amended Complaint fails to state a claim under Virginia’s

 business conspiracy statute, Virginia Code §§ 18.2-499 and 500, because:

               a.      Plaintiffs/the Suspended Plaintiffs only seek recovery for alleged injury to

                       personal reputational interests, which are not cognizable under Virginia’s

                       business conspiracy statute; and

               b.      Plaintiffs/the Suspended Plaintiffs fail to plausibly and/or with particularity

                       allege the elements of a statutory business conspiracy claim, including

                       concerted action.

        4.     Count Four of the Amended Complaint fails to state an ultra vires claim under

 Virginia Code § 13.1-828 because:

               a.      The alleged conduct, in each instance, was lawful, authorized, and/or

                       otherwise proper under the Virginia Nonstock Corporation Act, Va. Code §

                       13.1-801 et seq., and VMIAA’s governing corporate documents;

               b.      Plaintiffs cannot now, in this Court, challenge articles of incorporation that

                       the Virginia State Corporation Commission (“Commission”) has



 1
  The seven suspended/expelled Plaintiffs are: Timothy Cordle, Robert C. Morris, Jr., Mr.
 McCrary, Peter M. McCrary, Tracy Porter, Michael Staso, and Ronald M. Stelmasczyk.
 Collectively, they will be referred to herein as the “Suspended Plaintiffs.”


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                        determined complied with the requirements of law, see Va. Code § 13.1-

                        813(B); and

                c.      The alleged conduct—even if improper (which it was not)—cannot be an

                        ultra vires act under Virginia Code § 13.1-828.

        5.      One Plaintiff—the executor to the estate of Peter K. McCrary—does not have

 standing to pursue to any alleged claims.

        WHEREFORE, for the reasons stated above and in its supporting Memorandum, VMIAA

 respectfully requests that the Court grant its Motion to Dismiss, dismiss the Amended Complaint

 in its entirety and with prejudice, award it its reasonable attorneys’ fees and costs under 42 U.S.C

 § 1988(b) and Virginia Code §18.2- 500(B), and award it such additional relief as the Court deems

 fair and proper.



                                                      Respectfully submitted,

                                                      VMI ALUMNI ASSOCIATION.

                                                      /s/ Michael J. Finney
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                                                      Michael J. Finney (VSB No. 78484)
                                                      William L. Spotswood (VSB No. 97239)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2024, I electronically filed the foregoing with the Clerk of

 the Court, using the CM/ECF system, which then sent a notification of such filing (NEF) to all

 counsel of record.



                                                      /s/ Michael J. Finney




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